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IN THE UNITED STATES DISTRICT COURT

FOR THE SOUTHERN DISTRICT OF GEORGIA

CASE NO.

 

GENERAL ORDER
Federal Rule of Civil Procedure 26(f) requires the parties to confer,
develop a proposed discovery plan, and submit a report to this Court.
Subsequent to the filing of the report, a Scheduling Order must be entered
pursuant to Fed. R. Civ. P. 16(b). Therefore, by the earlier of 60 days after
any defendant has been served with the complaint or 45 days after any
defendant has appeared, the parties shall confer as provided in Rule 26(f).
See L.R. 26.1(a). Within 14 days after the required conference held
pursuant to Rule 26(f), the parties shall submit to the Court a written .
report conforming to the language and format of the Rule 26(f) Report
attached to this Order. L.R. 26.1(b); see Appendix of Forms to Local Rules.
Except in unusually protracted or complex cases, the parties will be

expected to adhere to the following deadlines and limitations:
 

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1. Theparties shall serve all written discovery on opposing parties
and shall complete all depositions within 140 days of the filing
of the last answer of the defendants named in the original
complaint. L.R. 26.1(d)@).

2. The plaintiff must furnish the expert witness reporis and
disclosures required by Rule 26(a)(3) within 60 days after the
Rule 26(f) conference. L.R. 26.1(d)Gi).

3. The defendant must furnish the expert witness reports and
disclosures required by Rule 26(a)(2) within 90 days after the
Rule 26(f) conference (or 60 days after the last answer,
whichever is later), L.R. 26.1(d)(iii).

4. The last day for filing motions to add or join parties or amend
the pleadings is 60 days after the first answer of the defendants
named in the original complaint. L.R. 16.8.

5. The last day for filing all other motions, including Daubert
motions but excluding motions in limine, is 30 days after the
close of discovery. L.R. 7.4.

Plaintiffs counsel shall ensure that a copy of this Order is served upon each
party. Finally, a party who cannot gain the cooperation of the other party
in preparing the Rule 26(f) report should advise the Court prior to the due
date of the report of the other party’s failure to cooperate.

SO ORDERED.

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UNITED STATES MAGISTRATE JUDGE
SOUTHERN DISTRICT OF GEORGIA
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF GEORGIA

DIVISION

Plaintiff

Case No.

Defendant

RULE 264) REPORT
Date of Rule 26(f) conference:

 

Parties or counsel who participated in conference:

 

 

 

If any defendant has yet to be served, please identify the
defendant and state when service is expected.

 

Date the Rule 26(a)(1) disclosures were made or will be made:

 

If any party objects to making the initial disclosures required by

Rule 26(a)(1) or proposes changes to the timing or form of those

disclosures,

(a) Identify the party or parties making the objection or
proposal:

 

 

 

(b) Specify the objection or proposal:
 

 

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6. The Local Rules provide a 140-day period for discovery. If any
party is requesting additional time for discovery,

(a) Identify the party or parties requesting additional time:

 

 

 

(b) State the number of months the parties are requesting for
discovery:

months

(c) Identify the reason(s) for requesting additional time for
discovery:

Unusually large number of parties

Unusually large number of claims or defenses

____ Unusually large number of witnesses
Exceptionally complex factual issues

Need for discovery outside the United States

Other:

 

(d) Please provide a brief statement in support of each of the
reasons identified above:

 

 

 

 
 

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If any party is requesting that discovery be limited to particular
issues or conducted in phases, please

(a) Identify the party or parties requesting such limits:

 

 

 

(b) State the nature of any proposed limits:

 

 

 

The Local Rules provide, and the Court generally imposes, the
following deadlines:

Last day for filing motions to add 60 days after issue is joined
or join parties or amend pleadings

Last day to furnish expert witness 60 days after Rule26(f)

report by plaintiff conference

Last day to furnish expert witness 90 days after Rule 26()

report by a defendant conference (or
60 days

after the answer,
whichever is later)

 
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Last day to file motions 30 days after close of
discovery

If any party requests a modification of any of these deadlines,

{a) Identify the party or parties requesting the modification:

 

 

 

(b) State which deadline should be modified and the reason
supporting the request:

 

 

 

 

 

9. Ifthe case involves electronic discovery,

(a) State whether the parties have reached an agreement
regarding the preservation, disclosure, or discovery of
electronically stored information, and if the parties prefer to
have their agreement memoralized in the scheduling order,
briefly describe the terms of their agreement:

 

 

(b) Identify any issues regarding electronically stored
information as to which the parties have been unable to

reach an agreement:

 

 

 
 

10.

11.

12.

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If the case is known to involve claims of privilege or protection of
trial preparation material,

(a)

(b)

(c)

State whether the parties have reached an agreement
regarding the procedures for asserting claims of privilege or
protection after production of either electronic or other
discovery material:

 

 

Briefly describe the terms of any agreement the parties wish
to have memoralized in the scheduling order (or attach any
separate proposed order which the parties are requesting
the Court to enter addressing such matters):

 

 

Identify any issues regarding claims of privilege or
protection as to which the parties have been unable to reach
an agreement:

 

 

 

State any other matters the Court should include in its scheduling
order:

 

 

The parties certify by their signatures below that they have
discussed the nature and basis of their claims and defenses and
 

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the possibilities for prompt settlement or resolution of the case.
Please state any specific problems that have created a hindrance
to the settlement of the case:

 

 

 

This day of , 20

Signed:

 

Attorney for Plaintiff

 

Attorney for Defendant

 
